                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION


WILLIAM PASSARELLA                            )
               Plaintiff,                     )
                                              )
v.                                            )       JUDGMENT
                                              )
                                              )       No. 5:19-CV-434-FL
CARDINAL FINANCIAL CORP.,                     )
a/k/a Fleet Mortgage Corp                     )
                      Defendant.              )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration of defendant’s motion to dismiss and motions by plaintiff to amend as well as the
court’s own initiative for reconsideration of its earlier decision allowing plaintiff to proceed in
forma pauperis.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
November 9, 2020, and for the reasons set forth more specifically therein, the court vacates the
court’s November 5, 2019 allowing plaintiff to proceed without payment of fees, DENIES
plaintiff’s motions requesting same and DISMISSES WITHOUT PREJUDICE this action
pursuant to pursuant to 28 U.S.C. §1915(g). Where plaintiff's action must be dismissed pursuant
to §1915(g), the remaining pending motions are DENIED AS MOOT.

This Judgment Filed and Entered on November 9, 2020, and Copies To:
William Passarella (via US mail) LG-6537, SCI Mahanoy, 301 Morea Road, Frackville, PA
17932
Gerald F. Meek (via CM/ECF Notice of Electronic Filing)

November 9, 2020                      PETER A. MOORE, JR., CLERK

                                        /s/ Sandra K. Collins
                                      (By) Sandra K. Collins, Deputy Clerk




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